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PROB 12A
(7/93)

                               United States District Court
                                            for
                                  District of New Jersey
                          Report on Offender Under Supervision
his
Name of Offender: Marcus Wright                                                        Cr.: 18-00503-001
                                                                                      PACTS #: 4254163

Name of Sentencing Judicial Officer:    THE HONORABLE WILLIAM H. WALLS
                                        SENIOR UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 03/26/2019

Original Offense    Count One: Possession with Intent to Distribute Cocaine

Original Sentence: 30 months imprisonment, 36 months supervised release

Special Conditions: Special Assessment, Substance Abuse Testing, Drug Treatment, Life Skills
Counseling, Educational Services, Support Dependents

Type of Supervision: Supervised Release                       Date Supervision Commenced: 07/27/2020

                                NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:

Violation Number     Nature of Noncompliance


 1                   The offender has violated the mandatory supervision condition which states
                     'You must not commit another federal, state, or local crime.'
                     On October 8, 2020, Mr. Wright was arrested by members of the Newark
                     Police Department and charged with aggravated assault-domestic violence and
                     criminal mischief-damage of property.
                     According to the incident report, Mr. Wright and his son’s mother (S.L.) got
                     into a verbal altercation that escalated into a physical altercation when Mr.
                     Wright threw her cell phone at her television. When she attempted to leave,
                     he reportedly strangled her and threw her against the wall. No injuries were
                     observed by the members of the Newark Police Department and S.L. refused
                     medical attention.
                     In a telephone conversation with S.L., she explained to our office that this was
                     an isolated incident and she did not want to pursue any charges and/or a
                     restraining order against him. She denied feeling threatened or in danger.
                     To date, the charges remain pending.

U.S. Probation Officer Action:
At this time, our office respectfully recommends no Court action. Mr. Wright has been referred to the 10-
week U.S. Probation Office’s STOP (Skills, Techniques, Options and Plans for better relationships)
Program. We will monitor his progress in the program, the overall health of his relationship, and the
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                                                                                           Marcus Wright

outcome of the pending charges. If any further instances of non-compliance arise or he is convicted on
the charges noted above, our office will notify the Court immediately.


                                                         Respectfully submitted,

                                                         SUSAN M. SMALLEY, Chief
                                                         U.S. Probation Officer
                                                         Maria Goodwater/SGM
                                                         By: MARIA GOODWATER
                                                               U.S. Probation Officer

/ mg
APPROVED:

Suzanne Golda-Martinez                   10/08/2020
SUZANNE GOLDA-MARTINEZ                            Date
Supervising U.S. Probation Officer

Please check a box below to indicate the Court’s direction regarding action to be taken in this case:

X No Formal Court Action to be Taken at This Time (as recommended by the Probation Office)

   Submit a Request for Modifying the Conditions or Term of Supervision
   Submit a Request for Warrant or Summons
   Other



                                                                 Signature of Judicial Officer


                                                                  10/15/2020
                                                                            Date
